  Case 1:06-cr-00079-JMS-KSC      Document 381     Filed 10/02/07   Page 1 of 20
                                  PageID.2639


                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,           )             CR. NO. 06-00079 DAE-LEK
                                    )
               Plaintiff,           )
                                    )
          vs.                       )
                                    )
NAEEM J. WILLIAMS (01)              )
DELILAH S. WILLIAMS (02),           )
                                    )
               Defendants.          )
____________________________________)


  ORDER DENYING DEFENDANT NAEEM WILLIAMS’S MOTION FOR
  FINDING THAT THE DEATH PENALTY ACT IS UNCONSTITUTIONAL
      AND MOTION TO STRIKE FDPA ALLEGATIONS FROM THE
 SUPERCEDING INDICTMENT AND AMENDED NOTICE OF INTENT TO
  SEEK THE DEATH PENALTY (MOTION # 2) WITHOUT PREJUDICE;
  AND ORDER DENYING DEFENDANT’S MOTION FOR RULING THAT
 NON-STATUTORY AGGRAVATING FACTORS MUST BE CONSIDERED
ELEMENTS, SUBJECT TO PROOF BEYOND A REASONABLE DOUBT AND
               RELIABLE EVIDENCE (MOTION # 6)

            On October 1, 2007, the Court heard Defendant Naeem Williams’s

Motions numbered 2 and 6. Marshall H. Silverberg, Assistant U.S. Attorney, and

J. Richard Broughton, Attorney for the Department of Justice, appeared at the

hearing on behalf of Plaintiff (“the Government”); David Klein, Esq., and John T.

Philipsborn, Esq., appeared at the hearing on behalf of Defendant Naeem Williams.

After reviewing the motions and the supporting and opposing memoranda, the
     Case 1:06-cr-00079-JMS-KSC    Document 381    Filed 10/02/07   Page 2 of 20
                                   PageID.2640


Court DENIES Defendant’s Motion # 2, WITHOUT PREJUDICE with respect to

one argument only, and DENIES Defendant’s Motion # 6.

                                  BACKGROUND

             On July 15, 2007, Defendant Naeem Williams filed a Motion for

Finding that the Death Penalty Act Is Unconstitutional and Motion to Strike FDPA

Allegations from the Superceding Indictment and Amended Notice of Intent to

Seek the Death Penalty (Motion # 2, Doc. # 309). The Government filed an

opposition on September 18, 2007, and Defendant filed a reply on September 24,

2007.

             On July 31, 2007, Defendant filed a Motion for Ruling that Non-

Statutory Aggravating Factors Must Be Considered Elements, Subject to Proof

Beyond a Reasonable Doubt and Reliable Evidence (Motion # 6, Doc. # 324). The

Government filed an opposition on September 11, 2007, and Defendant filed a

reply on September 14, 2007.

A.      Indictment

             On October 12, 2006, the grand jury issued a First Superceding

Indictment (“Indictment”) against Defendant Naeem Williams (“Defendant

Naeem” or “Defendant”) and Defendant Delilah Williams (“Defendant Delilah”).

The Indictment charges Defendant Naeem with three counts arising out of his role


                                        2
   Case 1:06-cr-00079-JMS-KSC       Document 381      Filed 10/02/07   Page 3 of 20
                                    PageID.2641


in allegedly beating and killing his then five-year old daughter. In Count 1,

Defendant Naeem is charged alone with first degree felony murder, in violation of

18 U.S.C. §§ 7 and 1111. The Indictment alleges that on July 16, 2005, Defendant

Naeem, with malice aforethought, allegedly unlawfully killed a child, T.E.W., in

the perpetration of child abuse, at Wheeler Army Airfield Military Housing.

             Count 2 charges both Defendants Naeem and Delilah with first degree

felony murder, in violation of 18 U.S.C. §§ 7 and 1111, in that they, with malice

aforethought, allegedly unlawfully killed a child, T.E.W., as part of a “pattern and

practice of assault and torture” against a child within the meaning of 18 U.S.C.

§ 1111(c). The course of conduct allegedly occurred between at least December

13, 2004, and culminated in the death of T.E.W. on July 16, 2005.

             The First Superceding Indictment also contains a Notice of Special

Findings section, which alleges that Defendant Naeem was 18 years of age or older

at the time of the offense. The section also alleges the following three qualifying

states of mind, and roles in the offense, with respect to Defendant Naeem, within

the meaning of 18 U.S.C. § 3591(a), the Federal Death Penalty Act (“FDPA”): (1)

intentional infliction of serious bodily injury that resulted in the death of T.E.W.;

(2) intentional participation in an act, contemplating that the life of a person would

be taken, and T.E.W. died as a result of the act; and (3) intentionally and


                                           3
     Case 1:06-cr-00079-JMS-KSC      Document 381     Filed 10/02/07    Page 4 of 20
                                     PageID.2642


specifically engaging in an act of violence, knowing that the act created a grave

risk of death to a person, such that participation in the act constituted a reckless

disregard for human life, and that the victim T.E.W. died as a result of the act.

              In addition, the notice section alleges the following two statutory

aggravating factors within the meaning of 18 U.S.C. § 3592(c): (1) commission of

the offense in an especially heinous, cruel and depraved manner in that it involved

torture and serious physical abuse; and (2) that T.E.W. was particularly vulnerable

due to her youth.

B.      Death Penalty Notice

              On October 28, 2006, the Government filed an Amended Notice of

Intent to Seek the Death Penalty Against Naeem Williams (“Death Penalty

Notice”). In the Death Penalty Notice, the Government alleges the statutory

prerequisite that at the time Defendant Naeem committed the offense, he was 18

years of age or older.

        1.    Proportionality Factors

              The Government alleges the following three gateway proportionality

factors within the meaning of 18 U.S.C. § 3591(a): (1) Defendant Naeem

intentionally inflicted serious bodily injury that resulted in the death of T.E.W.; (2)

he intentionally participated in an act, contemplating that the life of a person would


                                           4
   Case 1:06-cr-00079-JMS-KSC        Document 381     Filed 10/02/07    Page 5 of 20
                                     PageID.2643


be taken, other than a participant in the offense, and that T.E.W. died as a direct

result of the act; and (3) Defendant Naeem intentionally and specifically engaged

in an act of violence knowing that the act created a grave risk of death to a person

(other than a participant) such that participation in the act constituted reckless

disregard for human life and that T.E.W. died as a result of the act. These factors

are known as “gateway” mental state factors, at least one of which the jury must

find exists beyond a reasonable doubt as a prerequisite for finding that a defendant

is eligible for the death penalty.

      2.     Statutory Aggravating Factors

             The Government alleges the following two statutory aggravating

factors in the Death Penalty Notice: (1) Defendant Naeem committed the offense in

an especially heinous, cruel and depraved manner in that it involved torture and

serious physical abuse to T.E.W., within the meaning of 18 U.S.C. § 3592(c)(6);

and (2) T.E.W. was particularly vulnerable due to her youth within the meaning of

18 U.S.C. § 3592(c)(11). These factors are described as “statutory” because they

are enumerated in the statute 18 U.S.C. § 3592.

      3.     Non-Statutory Factors

             The Government alleges the following three non-statutory factors

within the meaning of 18 U.S.C. §§ 3593(a) and (c): (1) after committing the final


                                           5
   Case 1:06-cr-00079-JMS-KSC      Document 381      Filed 10/02/07   Page 6 of 20
                                   PageID.2644


act of physical abuse against T.E.W., Defendant Naeem intentionally waited before

seeking medical attention, reducing any possibility that T.E.W. could have been

medically treated and saved; (2) Defendant Naeem intentionally endeavored to

impede the investigation by washing the victim’s blood from the floors and walls

of the scene of the crime, and by instructing his wife, Defendant Delilah, to give a

false statement regarding the murder of the victim to the investigating law

enforcement officers; and (3) Defendant Naeem caused injury, harm, and loss to

T.W., by causing the death of her daughter, T.E.W. These factors are not

enumerated in the statute.

                                   DISCUSSION

             At the outset, this Court notes that Defendant’s arguments are difficult

to discern. Defendant provides numerous pages of case law, with little analysis to

the facts of this case, and repeats arguments that are made more specifically in his

other motions. Although not entirely clear, based upon Defendant’s reply brief, it

appears that Defendant is arguing that the FDPA is facially unconstitutional

because it does not comply with the Fifth Amendment Due Process and Indictment

Clauses. He also argues that the FDPA: does not include procedural protections

required by the Fifth, Sixth and Eighth Amendments; contains a standard for

admission of evidence in the penalty hearing that is unconstitutional; provides for a


                                          6
     Case 1:06-cr-00079-JMS-KSC      Document 381     Filed 10/02/07    Page 7 of 20
                                     PageID.2645


sentencing hearing that cannot be conducted in the absence of importing

procedures required by Ring v. Arizona, 536 U.S. 584 (2002), Crawford v.

Washington, 541 U.S. 36 (2004), and Sattazahn v. Pennsylvania, 537 U.S. 101

(2003); lacks specified burdens of proof; provides for the jury to find that the death

penalty is ‘justified,’ which is void for vagueness; must be read with a patchwork

of case law in mind such that the face of the Act is not actually applied in a death

penalty prosecution and for that reason it is invalid; and it violates international

law.

A.      Information Provided to the Grand Jury

              Defendant’s first argument is that the Fifth Amendment requires that

the grand jury know that its finding could result in a death sentence, and that if the

grand jury was not so informed, the Notice of Special Findings in the Indictment

should be stricken. The Government argues that although not required by law, the

grand jury in this case was informed that the death sentence was at issue. The

grand jury was told that

              you might have read that the attorney general of the
              United States has authorized the death penalty. That’s to
              Naeem Williams, and we have so notified him and his
              attorney and the Court. The attorney general has not
              authorized the death penalty against Delilah Williams,
              the stepmother. Up till now, she’s been charged just by a
              criminal complaint.


                                           7
   Case 1:06-cr-00079-JMS-KSC       Document 381     Filed 10/02/07   Page 8 of 20
                                    PageID.2646


(Gov. Ex. 3 at 3.) Defendant asserts that this statement to the grand jury is

insufficient because it does nothing to inform the grand jury that they were playing

a role in a death penalty decision making process. Instead, the statement by the

Government, Defendant argues, informed the grand jury that the issue of whether

the death penalty would or could be pursued had been decided by the Attorney

General, and did not leave the jurors with the impression that they would be

deciding on factors that played a part in determining whether the death penalty

would or could be pursued.

             At a minimum, case law requires that the statutory elements of a

crime, the requisite intent factors under 18 U.S.C. § 3591(a), and at least one

statutory aggravating factor under 18 U.S.C. § 3592(c), must be proven to a jury

beyond a reasonable doubt. See Ring v. Arizona, 536 U.S. 584, 609 (2002)

(extending Apprendi v. New Jersey, 530 U.S. 466 (2000) to the death sentencing

context). Circuit Courts have extended the Supreme Court’s holding in Ring to

require that the death-eligible factors be charged in the indictment. See United

States v. Robinson, 367 F.3d 278, 284 (5th Cir. 2004) (finding that “Ring 's Sixth

Amendment holding applies with equal force in the context of a Fifth Amendment

Indictment Clause challenge, even though the Supreme Court has yet to hold as

much in a capital case. As a result, the government is required to charge, by


                                          8
   Case 1:06-cr-00079-JMS-KSC        Document 381      Filed 10/02/07    Page 9 of 20
                                     PageID.2647


indictment, the statutory aggravating factors it intends to prove to render a

defendant eligible for the death penalty, and its failure to do so in this case is

constitutional error.”); United States v. Higgs, 353 F.3d 281, 298 (4th Cir. 2003)

(“those intent and aggravating factors which the government intends to rely upon

to render a defendant death-eligible under the FDPA are the functional equivalent

of elements of the capital offenses and must be charged in the indictment,

submitted to the petit jury, and proved beyond a reasonable doubt.”); United States

v. Purkey, 428 F.3d 738, 750 (8th Cir. 2005). This is because those death-eligible

intent and aggravating factors are to be regarded as elements because they increase

the maximum available punishment. Robinson, 367 F.3d at 284; Purkey, 428 F.3d

at 750 (“The indictment must charge at least one of the statutory aggravating

factors that is ultimately found by the petit jury because that is what is required to

elevate the available statutory maximum sentence from life imprisonment to

death.”) (internal quotation marks and citation omitted).

             However, nothing in those cases suggests that the grand jury must also

be informed that by returning the indictment the defendant may be subject to the

death penalty. Indeed, Defendant’s argument has been soundly rejected by other

courts, which have held that the grand jury does not need to be informed that the

death penalty may be used. See United States v. Diaz, No. CR 05-00167, 2007


                                           9
  Case 1:06-cr-00079-JMS-KSC       Document 381     Filed 10/02/07   Page 10 of 20
                                    PageID.2648


WL 656831, at *6 (N.D. Cal. Feb. 28, 2007) (finding that even in a death penalty

case, the grand jury need not be “informed of the potential punishment arising out

of the special findings.”) (citing United States v. Haynes, 269 F. Supp. 2d 970, 981

(W.D. Tenn. 2003) (same)). The reason for rejecting Defendant’s argument is

             [t]he grand jury's role is not to decide whether probable
             cause supports the imposition of a particular sentence
             against a charged individual; rather, the grand jury check
             on prosecutorial power stems from its independent
             factual determination of the existence of probable cause
             for the essential elements of the charged offense.
             Moreover . . . Grand juries do not make findings or
             recommendations concerning punishment or sentencing
             and such considerations should not influence their
             decision. It is for the petit jury to make that
             determination. The role of the grand jury simply is to
             investigate possible crimes against the sovereign so that
             it can make a judgment whether a trial on specific
             charges is necessary.

Diaz, 2007 WL 656831, at *6 (internal quotation marks and citation omitted).

             Further, the model jury instruction, which was provided to this grand

jury, instructs that the jurors should not be concerned about punishment in the

event of conviction. This jury instruction has been upheld by the Ninth Circuit as

constitutional because it uses the word “should,” thereby allowing the possibility

of considering punishment. United States v. Cortez-Rivera, 454 F.3d 1038, 1041

(9th Cir. 2006) (finding that the use of the word “should,” in the instruction “does



                                         10
  Case 1:06-cr-00079-JMS-KSC       Document 381     Filed 10/02/07   Page 11 of 20
                                    PageID.2649


not preclude the grand jury from considering punishment and is therefore

constitutional.”).

              Moreover, in Purkey, the Eighth Circuit rejected arguments that are

very similar to Defendant’s arguments in this case. In that case, the defendant

argued that the FDPA was “facially unconstitutional because it vests the

prosecution with unilateral authority to seek the death penalty without ever taking

the matter of whether the death penalty is justified to the grand jury.” 428 F.3d at

748. The defendant also argued that his prosecution ran afoul of the indictment

because the government failed to seek an indictment on “the issue of whether the

aggravating factors sufficiently outweighed any mitigating factors to justify a

sentence of death.” Id. The court found the defendant’s arguments meritless and

held that

              it makes no sense to speak of the weighing process
              mandated by 18 U.S.C. § 3593(e) as an elemental fact for
              which a grand jury must find probable cause. In the
              words of the statute, it is a “consideration,” 18 U.S.C.
              § 3593(e), – that is, the lens through which the jury must
              focus the facts that it has found to produce an
              individualized determination regarding “whether the
              defendant should be sentenced to death, to life
              imprisonment without possibility of release or some other
              lesser sentence.” Id.

Id. at 750.



                                         11
     Case 1:06-cr-00079-JMS-KSC     Document 381     Filed 10/02/07     Page 12 of 20
                                     PageID.2650


              Here, the death-eligible intent factors and the statutory aggravating

factors were set forth in the Indictment. By returning the Indictment, the grand

jury found probable cause that Defendant committed the offenses, that threshold

intent factors contained in Sections 3591(a)(2)(B), (C), and (D) were present, and

that the statutory aggravating factors contained in Sections 3592(c)(6) and (11)

existed. The grand jury was in fact informed that the Attorney General had

authorized the death penalty. Thus, in this case, the grand jury fully realized that

by returning the Indictment, Defendant could be sentenced to death. It is difficult

to discern what more the grand jury could have been told that would allay

Defendant’s concerns. If Defendant is asking that the grand jury be told that it

must engage in the weighing process of whether the defendant, if convicted, should

be sentenced to death, prior to returning the indictment, then his argument is

soundly rejected, as it was by the Eighth Circuit in the Purkey case.

B.      Defendant’s Facial Attack

              Defendant next argues that the FDPA is facially unconstitutional

because it does not assign a burden of proof to the ultimate selection of decision

concerning punishment, does not make the eligibility factors elements of the

offense, and does not include a presumption of innocence.




                                          12
  Case 1:06-cr-00079-JMS-KSC        Document 381     Filed 10/02/07    Page 13 of 20
                                     PageID.2651


             The FDPA is not unconstitutional on its face. It requires, as the cases

have held, that the threshold intent factors, the statutory aggravating factors, and

the non-statutory aggravating factors be proven to the jury beyond a reasonable

doubt. See 18 U.S.C. §§ 3591(a)(2) and 3593(c). Furthermore, the FDPA does not

preclude the inclusion of the eligibility factors in a grand jury indictment. Purkey,

428 F.3d at 748-49 (rejecting the defendant’s claim that the FDPA was

unconstitutional on its face because nothing in the FDPA prohibited the

government from submitting aggravating factors to the grand jury for inclusion in

the indictment); United States v. Sampson, 486 F.3d 13, 21 (1st Cir. 2007) (“No

provision of the FDPA prohibits a grand jury from considering those factors

necessary for imposition of a death sentence. The statute simply is silent with

respect to the function of the grand jury. It thus is not rendered facially

unconstitutional by Ring.”).

             Defendant’s presumption of innocence argument also fails. “The

FDPA is not undermined by any lack of the presumption of innocence during the

penalty phase.” Diaz, 2007 WL 656831, at *8 (citing United States v. Cheever,

423 F. Supp. 2d 1181, 1196 (D. Kan. 2006)). This is because it is sufficient that at

the sentencing phase, the jury is instructed that it is the government’s burden




                                          13
  Case 1:06-cr-00079-JMS-KSC       Document 381     Filed 10/02/07   Page 14 of 20
                                    PageID.2652


             to prove ‘to a unanimous jury beyond a reasonable doubt
             everything required to make [a] defendant eligible for the
             death penalty, and everything required for the jury to
             return a recommendation of death, as contemplated by
             both the FDPA and the Constitution.’ In addition, the
             jury will also be instructed that the defendant has no duty
             to prove anything, unless the defendant intends to prove
             mitigating factors by a preponderance of the evidence.

Id. Given the safeguards set forth in the FDPA regarding the government’s burden

of proof, the absence of an explicit provision regarding the presumption of

innocence does not render the FDPA unconstitutional.

             Defendant also argues that the FDPA is unconstitutional because it

does not require adherence to a procedure that mandates reliable evidence at the

sentencing phase and thus violates the Due Process and Confrontation Clauses.

Defendant asserts that the Ring case and Sattazahn case require a new kind of

calculus to be applied to the FDPA in order for it to be rescued from facial

unconstitutionality.

             Defendant’s argument has recently been soundly rejected by the Ninth

Circuit. In United States v. Mitchell, - - F.3d - - , No. 03-99010, 2007 WL

2482077, at *36 (9th Cir. Sept. 5, 2007), the defendant argued that the procedural

protections of the FDPA were inadequate and violated the Due Process and

Confrontation Clauses because the FDPA allowed evidence to be admitted at the



                                         14
     Case 1:06-cr-00079-JMS-KSC     Document 381     Filed 10/02/07   Page 15 of 20
                                     PageID.2653


sentencing phase that would be inadmissible under the Federal Rules of Evidence.

The Ninth Circuit held that “[t]he Rules of Evidence do not apply to sentencing

proceedings.” Id. The court explained that the Supreme Court has made it clear

that in order to obtain the heightened reliability demanded by death penalty cases,

more evidence on the presence of aggravating and mitigating factors, not less,

should be admitted. Id. The court noted that the FDPA “provides a

constitutionally sufficient procedural safeguard for evidentiary reliability” because

it “allows the district judge to exclude evidence if its probative value is outweighed

by the danger of creating unfair prejudice, confusing the issues, or misleading the

jury.” Id. Accordingly, the FDPA’s evidentiary standard is not facially

unconstitutional.

C.      Defendant’s Request that the Non-Statutory Factors Be Treated as Elements

              This Court rejects Defendant’s request that this Court rule that the

non-statutory aggravating factors are to be treated as elements within the meaning

of Ring and Sattazahn, and included in the Indictment. Indeed, this argument has

already been rejected by several courts.

              For example, in Purkey, the Eighth Circuit held that

              [n]on-statutory aggravating factors do not increase the
              maximum punishment to which a defendant is subject.
              They are neither sufficient nor necessary under the FDPA


                                           15
  Case 1:06-cr-00079-JMS-KSC       Document 381      Filed 10/02/07   Page 16 of 20
                                    PageID.2654


             for a sentence of death. Their purpose is merely to aid
             the sentencer in selecting the appropriate sentence from
             the available options, on the basis of the character of the
             [defendant] and the circumstances of the crime.

428 F.3d at 749-50 (internal quotation marks and citation omitted). Also, the

Ninth Circuit recently found that the constitution does not require the government

to charge and present the non-statutory aggravating factors to the grand jury

because a “non-statutory aggravating factor by itself cannot trigger death

eligibility.” Mitchell, 2007 WL 2482077, at *36 (citation omitted). Therefore, as

the non-statutory aggravating factors need not be charged in the indictment, they

certainly need not be treated as an element within the meaning of Ring.

D.    Defendant’s Remaining Arguments

             Defendant asserts that the standard used in the FDPA that the jury

must determine whether the sentence of death is “justified” is unconstitutionally

vague and violates the Due Process Clause. This Court disagrees.

             First, this Court notes that Defendant cites no authority supporting his

claim. Second, due process requires that a statute be intelligible, defining a “core”

of conduct that allows people to understand the consequences of their actions.




                                          16
  Case 1:06-cr-00079-JMS-KSC         Document 381     Filed 10/02/07   Page 17 of 20
                                      PageID.2655


Forbes v. Napolitano, 236 F.3d 1009, 1011 (9th Cir. 2000). “Statutes need not be

written with ‘mathematical’ precision, nor can they be thus written.” Id. (citation

omitted).

                Here, the term “justify” is commonly known and used. Use of the

word does not make the FDPA unconstitutionally vague. Furthermore, the parties

can provide input on the exact definition of this term when this Court resolves jury

instructions.

                Defendant next argues that Ring and other cases require that the

FDPA be rewritten or amended by Congress because it has resulted in him being

subjected to a patchwork scheme. This Court rejects this argument. As noted by

the First Circuit, courts have uniformly rejected the argument that Ring creates a

conflict with the FDPA, and that “curing the problem would require the rewriting

of the statute, which is a legislative function.” Sampson, 486 F.3d at 21. The

recognized mechanisms for complying with Ring do not amount to

unconstitutional redrafting of the FDPA because Ring set forth a procedural, not

substantive rule. Schriro v. Summerlin, 542 U.S. 348, 358 (2004) (“Ring

announced a new procedural rule”). “Adhering to a court-crafted rule of criminal

procedure when applying the FDPA does not constitute impermissible statutory




                                           17
  Case 1:06-cr-00079-JMS-KSC        Document 381      Filed 10/02/07   Page 18 of 20
                                     PageID.2656


redrafting.” Sampson, 486 F.3d at 22 (rejecting the defendant’s argument that “the

application of Ring to the FDPA requires impermissible judicial or executive

redrafting of the statute.”).

              Defendant’s argument that the FDPA violates international law has

been foreclosed by the Ninth Circuit, as Defendant concedes. See Alvarez-Mendez

v. Stock, 941 F.2d 956, 963 (9th Cir. 1991) (finding that the court is “bound by a

properly enacted statute, provided it be constitutional, even if that statute violates

international law.”); see also United States v. Bin Laden, 126 F. Supp. 2d 290, 294

(S.D.N.Y. 2001) (the argument “that international law completely bars this nation's

use of the death penalty-is unsupportable since the United States is not party to any

treaty that prohibits capital punishment per se, and since total abolishment of

capital punishment has not yet risen to the level of customary international law.”).

              Finally, Defendant argues that the Confrontation Clause applies at the

sentencing phase for a death penalty trial and forbids the introduction of

testimonial hearsay, such as Delilah’s Plea Agreement, in violation of Crawford v.

Washington, 541 U.S. 36 (2004). This Court finds that this argument is premature

because it is not clear that the Government will attempt to use any testimonial

hearsay evidence at the sentencing phase. Defendant may raise this argument




                                          18
  Case 1:06-cr-00079-JMS-KSC       Document 381      Filed 10/02/07   Page 19 of 20
                                    PageID.2657


again at an appropriate time before the sentencing phase, if there is one.

Accordingly, this Court DENIES Defendant’s motion without prejudice with

respect to this argument only.

             In the alternative, if this Court does not find the FDPA to be

unconstitutional, Defendant requests that this Court require the Government to

provide more evidentiary detail to support the factors listed in the Death Penalty

Notice. Defendant made those specific arguments in Motions 1, 3, 4, and 5, and

this Court has addressed them in a separate order.



                                  CONCLUSION

             For the reasons stated above, the Court DENIES Defendant’s Motion

for Finding that the Death Penalty Act Is Unconstitutional and Motion to Strike

FDPA Allegations from the Superceding Indictment and Amended Notice of Intent

to Seek the Death Penalty (Motion # 2, Doc. # 309) WITHOUT PREJUDICE;

and DENIES Defendant’s Motion for Ruling that Non-Statutory Aggravating




                                         19
  Case 1:06-cr-00079-JMS-KSC    Document 381    Filed 10/02/07   Page 20 of 20
                                 PageID.2658


Factors Must Be Considered Elements, Subject to Proof Beyond a Reasonable

Doubt and Reliable Evidence (Motion # 6, Doc. # 324).

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, October 2, 2007.




                                    _____________________________
                                    David Alan Ezra
                                    United States District Judge




United States of America vs. Naeem J. Williams, et al., Cr. 06-00079 DAE-LEK;
ORDER DENYING DEFENDANT NAEEM WILLIAMS’S MOTION FOR
FINDING THAT THE DEATH PENALTY ACT IS UNCONSTITUTIONAL
AND MOTION TO STRIKE FDPA ALLEGATIONS FROM THE
SUPERCEDING INDICTMENT AND AMENDED NOTICE OF INTENT TO
SEEK THE DEATH PENALTY (MOTION # 2) WITHOUT PREJUDICE;
AND ORDER DENYING DEFENDANT’S MOTION FOR RULING THAT
NON-STATUTORY AGGRAVATING FACTORS MUST BE CONSIDERED
ELEMENTS, SUBJECT TO PROOF BEYOND A REASONABLE DOUBT AND
RELIABLE EVIDENCE (MOTION # 6)




                                      20
